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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of Pennsylvania

FRANCIS SMITH; FRANK GIORDANO; DANIEL
CHRISTY; REVERED HERBERT H. LUSK, II;
VAL FICHERA; KEVIN CHOWNS;GARY
JOHNSON; JARED BARCZ; JOSEPH
TARANTINO; MICHAEL GAMBONE; MARC A.
FRANZONI; CHRIS HRIN; JOSEPH GAMBONE;
____ CHARLES D. MANDRACCHIA, JR.

Plaintiff(s)

Vie

Civil Action No. 20-1958

CHINESE COMMUNIST PARTY; PEOPLE
REPUBLIC OF CHINA
Defendant(s)

AMENDED SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

Chinese Communist Party

Qinzeng Hall
Zhongnanhai
Xicheng District-"

Beijing, ofc2
' 7 :
Peop AFawaui ER Bes Hifed Chains dae

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attomey,
whose name and address are:

Charles Mandracchia
2024 Cressman Road
P.O. Box 1229
Skippack, Pa 19474

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 

CLERK OF COURT

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Date: 5/13/20
Signature of Clerk or Deputy Clerk

 

 

 

 
